       Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 1 of 17



                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


                                                     )
MICHAEL MCCARTHY; WILLIAM R.                         )
BIEWENGA; LAURIE WARNER; TIMOTHY                     )
GALLIGAN; JIM SIMMONS; DAVID                         )
LANTAGNE; THOMAS LEIGHTON; TROY CITY                 )   CIVIL ACTION NO.
TACTICAL LLC; WORCESTER PISTOL AND                   )   1:20-cv-10701-DPW
RIFLE CLUB, INC.; SHOOTING SUPPLY LLC;               )
FIREARMS POLICY COALITION, INC.;                     )
COMMONWEALTH SECOND AMENDMENT,                       )
INC.; and SECOND AMENDMENT                           )
FOUNDATION, INC.,                                    )
                                                     )   SECOND AMENDED
                              Plaintiffs,            )   COMPLAINT
                                                     )
               -against-                             )
                                                     )
CHARLES D. BAKER, in his Official Capacity as        )   PRELIMINARY EQUITABLE
Governor of the Commonwealth of Massachusetts and )      RELIEF REQUESTED
in his Individual Capacity; MONICA BHAREL MD, )
MPH, in her Official Capacity as Commissioner of the )
Massachusetts Department of Public Health and in her )
Individual Capacity; and JAMISON GAGNON, in his )
Official Capacity as Commissioner of the Department )
of Criminal Justice Information Services and in his  )
Individual Capacity,                                 )
                                                     )
                              Defendants.            )
                                                     )

      Plaintiffs MICHAEL MCCARTHY, WILLIAM R. BIEWENGA, LAURIE WARNER,

TIMOTHY GALLIGAN, JIM SIMMONS, DAVID LANTAGNE, THOMAS LEIGHTON,

TROY CITY TACTICAL LLC, WORCESTER PISTOL AND RIFLE CLUB, INC., SHOOTING

SUPPLY LLC, FIREARMS POLICY COALITION, INC., COMMONWEALTH SECOND

AMENDMENT, INC. and SECOND AMENDMENT FOUNDATION, INC., as and for their

Complaint against Defendants CHARLES D. BAKER, MONICA BHAREL MD, MPH,

JAMISON GAGNON allege as follows:
         Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 2 of 17



        1.      This lawsuit challenges the Defendants’ acts of: (1) eliminating all lawful channels

of access to constitutionally protected arms and ammunition by mandating the closure of all

businesses that sell firearms and ammunition to the consumer public; and (2) directing the closure

of all shooting ranges. These actions amount to bans on obtaining modern arms for personal

defense, and on obtaining and maintaining proficiency, in the Commonwealth of Massachusetts.

        2.      The Plaintiffs bringing this action do not mean to minimize the severity or urgency

of the coronavirus pandemic. The exigencies surrounding this viral pandemic both justify and

necessitate changes in the manner in which people live their lives and conduct their daily business.

However, this emergency—like any other emergency—has its constitutional limits. It would not

justify a prior restraint on speech, nor a suspension of the right to vote. Just the same, it does not

justify a ban on obtaining guns and ammunition. The declaratory and injunctive relief that

Plaintiffs have been forced to seek in this action is necessary to uphold this bedrock principle of

constitutional rights and the rule of law.

        3.      The need for personal self-defense is most acute during times of uncertainty and

crisis—when law enforcement services may not be available or may not be reliably available, and

when (as now) criminal offenders may be released from custody or may be less likely to be taken

into custody in the first place. It is precisely times like these that the Plaintiffs and the Plaintiffs’

members need to be able to exercise their fundamental rights to keep and bear arms.

                                  JURISDICTION AND VENUE

        4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343,

2201, 2202 and 42 U.S.C. § 1983.

        5.      This Court has personal jurisdiction over each of the Defendants because, inter alia,

each acted, acts and threatens to act under the color of laws, policies, customs and/or practices of




                                                  -2-
         Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 3 of 17



the Commonwealth of Massachusetts and each did so, does so and threatens to do so within the

geographic confines of the Commonwealth of Massachusetts.

       6.      Venue is proper pursuant to 28 U.S.C. § 1391.

       7.      The Eastern Division is appropriate pursuant to LR 40.1(d)(1)(E) because a

majority of the parties that reside in the District reside in the Eastern Division.

                                             PARTIES

       8.      Plaintiff MICHAEL MCCARTHY is a natural person residing in Boston, Suffolk

County, Massachusetts.

       9.      Plaintiff WILLIAM R. BIEWENGA is a natural person residing in Wellfleet,

Barnstable County, Massachusetts.

       10.     Plaintiff LAURIE WARNER is a natural person residing in Wellfleet, Barnstable

County, Massachusetts.

       11.     Plaintiff TIMOTHY GALLIGAN is a natural person residing in Easton, Bristol

County, Massachusetts.

       12.     Plaintiff JIM SIMMONS is a natural person residing in New Bedford, Bristol

County, Massachusetts.

       13.     Plaintiff DAVID LANTAGNE is a natural person residing in Dunstable, Middlesex

County, Massachusetts.

       14.     Plaintiff THOMAS LEIGHTON is a natural person residing in Holden, Worcester

County, Massachusetts.

       15.     Plaintiff TROY CITY TACTICAL LLC is a limited liability company organized

under Massachusetts law with its office in Fall River, Bristol County, Massachusetts.




                                                  -3-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 4 of 17



       16.     Plaintiff WORCESTER PISTOL AND RIFLE CLUB, INC. (“Worcester Pistol &

Rifle Club” or the “Club”) is a non-profit corporation organized under Massachusetts law with its

principal office in Boylston, Worcester County, Massachusetts.

       17.     Plaintiff SHOOTING SUPPLY LLC is a limited liability company organized under

Massachusetts law with its office in Westport, Bristol County, Massachusetts.

       18.     Plaintiff FIREARMS POLICY COALITION, INC. (“FPC”) is an exempt (not-for-

profit) corporation organized under Delaware law with its principle office in Sacramento County,

California.

       19.     Plaintiff COMMONWEALTH SECOND AMENDMENT, INC. (“Comm2A”) is a

non-profit corporation organized under Massachusetts law with its principal place of business in

Natick, Middlesex County, Massachusetts.

       20.     Plaintiff SECOND AMENDMENT FOUNDATION, INC. (“SAF”) is a not-for-

profit corporation organized under Washington law with its principle office in King County,

Washington.

       21.     Defendant CHARLES D. BAKER (“Governor Baker”) is sued in his individual

capacity and in his official capacity as Governor of the Commonwealth of Massachusetts,

responsible for issuing the executive orders that cause the injuries complained of, and who has

authority to change or modify such orders in a way that would alleviate the Plaintiffs’ injuries. As

detailed herein, Defendant Governor Baker has enforced the challenged laws, policies, customs,

and practices against Plaintiffs and is in fact presently enforcing and threatening to enforce the

challenged laws, policies, customs, and practices against Plaintiffs.

       22.     Defendant MONICA BHAREL MD, MPH is sued in her individual capacity and

in her official capacity as the Commissioner of the Massachusetts Department of Public Health,




                                                -4-
         Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 5 of 17



responsible for enforcing the executive orders that cause the injuries complained of, and further,

with authority “to issue guidance” that could alleviate the Plaintiffs’ injuries. As detailed herein,

Defendant Commissioner Bharel has enforced the challenged laws, policies, customs, and

practices against Plaintiffs and is in fact presently enforcing and threatening to enforce the

challenged laws, policies, customs, and practices against Plaintiffs.

        23.    Defendant JAMISON GAGNON (“Commissioner Gagnon”) is sued in his

individual capacity and in his official capacity as Commissioner of the Department of Criminal

Justice Information Services, who has undertaken enforcement of the executive orders at issue and

otherwise acted to cause the injuries complained of herein. As detailed herein, Defendant

Commissioner Gagnon has enforced the challenged laws, policies, customs, and practices against

Plaintiffs and is in fact presently enforcing and threatening to enforce the challenged laws, policies,

customs, and practices against Plaintiffs.

                              CONSTITUTIONAL PROVISIONS

        24.    The Second Amendment to the United States Constitution provides:

               A well-regulated Militia being necessary to the security of a free State, the
               right of the people to keep and bear Arms shall not be infringed.

        25.    The Second Amendment “guarantee[s] the individual right to possess and carry

weapons in case of confrontation.” District of Columbia v. Heller, 554 U.S. 570, 592 (2008).

        26.    The Fourteenth Amendment to the United States Constitution provides in pertinent

part:

               No state shall make or enforce any law which shall abridge the privileges
               or immunities of citizens of the United States; nor shall any state deprive
               any person of life, liberty, or property, without due process of law; nor
               deny to any person within its jurisdiction the equal protection of the laws.

        27.    The Second Amendment “is fully applicable to the States.” McDonald v. City of

Chicago, 561 U.S. 742, 750 (2010); see also id. at 805 (Thomas, J., concurring).


                                                 -5-
         Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 6 of 17



       28.     The “core lawful purpose” of the right to keep and bear arms is “self-defense.”

Heller, 554 U.S. at 571, 630; accord McDonald, 561 U.S. at 767-68.

       29.     The Second Amendment “elevates above all other interests the right of law-abiding,

responsible citizens to use arms in defense of hearth and home.” Heller, 554 U.S. at 635.

       30.     “Commercial regulations on the sale of firearms do not fall outside the scope of the

Second Amendment[.]” United States v. Marzzarella, 614 F.3d 85, 92 n.8 (3d Cir. 2010). Rather,

“prohibiting the commercial sale of firearms . . . would be untenable under Heller.” Id.

       31.     Furthermore, “[t]he right to possess firearms for protection implies a corresponding

right to acquire and maintain proficiency in their use; the core right wouldn’t mean much without

the training and practice that make it effective.” Ezell v. City of Chicago, 651 F.3d 684, 704 (7th

Cir. 2011).

                       PERTINENT STATUTES AND REGULATIONS

       32.     It is unlawful to “own or possess” any handgun, rifle or shotgun unless one holds

either a Firearms Identification card (“FID”) or a License to Carry Firearms (“LTC”). See M.G.L.

c. 140, §§ 129B-129C; id. c. 269, § 10(a).

       33.     A person seeking a FID or LTC must meet specified requirements related to, inter

alia, age, criminal background, and mental fitness. See M.G.L. c. 140, § 129B(1)(i)-(xi); id. §

131(d)(i)-(x). Furthermore, licensing authorities can deny FIDs and LTCs to individuals found to

be “unsuitable” in that they otherwise “create a risk to public safety.” See id. § 129B(1)(b), (d); id.

§ 131(d). Finally, a person must also complete state mandated training. See id. at § 131P(a).

       34.     It is also illegal to possess “ammunition” unless one holds either a FID or LTC. See

M.G.L. c. 140, §§ 129B-129C; id. c. 269, § 10(a).

       35.     As a general proposition, it is illegal to sell any type of firearm (handgun, rifle or

shotgun) in Massachusetts unless the seller is a licensed firearms dealer. See M.G.L. c. 140, § 128.


                                                 -6-
         Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 7 of 17



        36.    It is illegal to sell ammunition unless one is “duly licensed.” See M.G.L. c. 140, §

122B.

        37.    Subject to certain exceptions that are not applicable in Massachusetts, federal law

requires licensed firearms dealers to deliver firearms to purchasers at their licensed business

premises, or alternatively, at a gun show. See 27 C.F.R. § 478.96(b).

            GOVERNOR BAKER’S EXECUTIVE ORDERS AND
  THE CLOSURE OF RETAIL ARMS TRANSACTIONS AND SHOOTING RANGES

        38.    As the Court is aware, a novel virus has caused a pandemic illness that is spreading

throughout the world, including the United States and the Commonwealth of Massachusetts. It is

unclear how long it will take for this pandemic illness to run its course, and estimates have ranged

from one month to 18 or more months.

        39.    On March 23, 2020, Defendant Governor Baker issued COVID-19 Order No. 13,

which ordered “[a]ll businesses and other organizations that do not provide COVID-19 Essential

Services [to] close their physical workplaces and facilities (‘brick-and-mortar premises’) to

workers, customers, and the public” the next day, on March 24, 2020. By its terms, this order was

to expire on April 7, 2020.

        40.    COVID-19 Order No. 13 included an Exhibit A in which Defendant Governor

Baker designated various types of businesses as “essential” services “based on federal guidance

and amended to reflect the needs of Massachusetts’ unique economy.” The list of “essential”

services did not include either retailers of firearms and ammunition or shooting ranges, but did

include “[w]orkers necessary for the manufacturing of materials and supplies needed for . . .

emergency services, and the defense industrial base” under the designation of “CRITICAL

MANUFACTURING.”




                                                -7-
          Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 8 of 17



         41.   On March 31, 2020 Defendant Governor Baker issued COVID-19 Order No. 21,

which extended Order No. 13 to May 4, 2020, and also revised the list of “essential” services. The

revised list included “[w]orkers supporting the operation of firearm or ammunition product

manufacturers, importers, and distributors” under the category for “Law Enforcement, Public

Safety, First Responders.” It also continued to identify “critical manufacturing” as “essential” on

largely the same terms as Order No. 13.

         42.   On or about April 2, 2020 Defendant Commissioner Gagnon issued a directive to

all Chiefs of Police and firearms licensing personnel reinforcing the determination by Defendant

Governor Baker that firearms dealers are not “essential” businesses and offering his assistance

with the enforcement of COVID-19 Order No. 21 through targeted audits of firearms sales by

firearms dealers.

         43.   Plaintiff Troy City Tactical, LLC is a retail dealer in firearms and ammunition that

is licensed under both federal law and Massachusetts law to engage in business as such.

         44.   Plaintiff Shooting Supply is a retail dealer in firearms and ammunition that is

licensed under both federal law and Massachusetts law to engage in business as such.

         45.   As the coronavirus pandemic unfolded, Plaintiffs Troy City Tactical and Shooting

Supply implemented safety measures following guidelines from the Center for Disease Control

and Massachusetts officials, such as the routine cleansing of doorknobs and countertops, social

distancing, limitation on the number of people in the store at once and “appointment only” retail

sales.

         46.   On or about April 2, 2020, Plaintiff Troy City Tactical contacted the Fall River

Police Department and was advised by an officer of that department that he was now prohibited

from conducting new retail sales in accordance with COVID-19 Order No. 21. Plaintiff Troy City




                                                -8-
         Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 9 of 17



Tactical is aware that the Fall River Police Chief has the authority to suspend or revoke its licenses

to sell firearms and ammunition if it violates COVID-19 Order No. 21.

       47.     Aside from not including firearms retailers, Defendant Governor Baker’s COVID-

19 Order No. 21 also does not include shooting ranges as “essential services.” By its terms,

COVID-19 Order No. 21 applies to “business and other organizations” and requires them to “not

re-open their brick-and-mortar premises to workers, customers, or the public[.]”

       48.     Plaintiff Worcester Pistol & Rifle Club is a private club that is only open to its

members and their guests. It has shooting ranges and a clubhouse on a 17-acre parcel of land. As

the pandemic unfolded, the Club shut down all of its facilities to prevent the spread of COVID-19.

Now that time has passed and the COVID-19 situation has continued to develop, the Club decided

to open its ranges on May 18, 2020, so long as doing so would not put it in violation of the law.

       49.     The Club accordingly contacted the Boylston Board of Health and asked whether

it would be lawful for the Club to re-open its ranges on May 18, 2020. On May 11, 2020, Health

Agent Dennis Costello advised the Club that, in the absence of additional information from the

Commonwealth, the Boylston Board of Health’s view was that opening the ranges would place

the Club in violation of the COVID-19 Orders.

       50.     On April 3, 2020, Plaintiff Precision Point Firearms received the notice drafted by

Defendant Commissioner Gagnon which stated that “(a)s of noon on April 1, 2020 gun dealers

must remain closed for all business transactions”. This notice was sent to all Chiefs of Police,

including the Chief of the Woburn Police Department. Plaintiff Precision Point Firearms is aware

that the Woburn Police Chief has the authority to suspend or revoke its licenses to sell firearms

and ammunition if it violates COVID-19 Order No. 19.




                                                 -9-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 10 of 17



       51.     On April 2, 2020, Westport police officers came to the business premises of

Plaintiff Shooting Supply and ordered it to cease doing business. Westport police officers blocked

Plaintiff Shooting Supply’s parking lot and refused to allow it to conduct any additional transfers

to waiting customers. The Westport police officers told Plaintiff Shooting Supply that his business

was being shut down in accordance with COVID-19 Order No. 19. Plaintiff Shooting Supply is

aware that the Westport Police Chief has the authority to suspend or revoke his licenses to sell

firearms and ammunition if it violates COVID-19 Order No. 19.

       52.     On April 1, 2020, the Board of Health of the Town of Barnstable contacted Plaintiff

Cape Gun Works by telephone and told the store that it could not continue retail sales to the public.

Furthermore, on April 3, 2020, Plaintiff Cape Gun Works received a copy of a notice drafted by

the Commissioner of the Department of Criminal Justice Information Services which stated that

“(a)s of noon on April 1, 2020 gun dealers must remain closed for all business transactions” in

accordance with COVID-19 Order No. 19. On information and belief, this notice was sent to all

Chiefs of Police, including the Barnstable Police Chief. Plaintiff Cape Gun Works is aware that

the Barnstable Police Chief has the authority to suspend or revoke its licenses to sell firearms and

ammunition if it violates COVID-19 Order No. 19.

               INJURY TO THE PLAINTIFFS AND OTHERS LIKE THEM

       53.     Plaintiff William Biewenga and Plaintiff Laurie Warner both hold valid LTCs in

the Commonwealth but do not own any firearms, rifles, shotguns or ammunition. Their home is

close to the Cape Cod National Seashore and they have observed an increase in unwanted

trespassers on their property since the novel coronavirus began to spread in the United States. They

are aware that break-ins are common in their community and they are concerned that they would

be unable to protect themselves should the need arise and emergency services were unavailable or

not reliably available. They decided to purchase a gun and ammunition to protect themselves.


                                                -10-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 11 of 17



       54.     On April 3, 2020, Plaintiff Biewenga contacted Downrange Inc. d/b/a Cape Gun

Works (“Cape Gun Works”) and inquired about the availability of a Mossberg 590M 12 gauge

shotgun and ammunition for purchase by either himself or Plaintiff Warner.

       55.     On April 3, 2020, Cape Gun Works advised Plaintiff Biewanga that the “state” had

“shut (them) down at this time” and that they could “not transfer a gun” to Plaintiff Biewenga or

Plaintiff Warner. Thus, Plaintiffs Biewenga and Warner are unable to obtain a firearm or

ammunition.

       56.     Plaintiff Michael McCarthy holds a valid LTC in the Commonwealth but does not

own any firearms, rifles, shotguns or ammunition. He is aware that the City of Boston has a higher

crime rate than surrounding communities, and he is concerned that he would unable to protect

himself and his family should the need arise and emergency services are unavailable or not reliably

available. He decided to purchase a gun and ammunition to protect himself and his family.

       57.     On April 7, 2020, Plaintiff McCarthy contacted Don Tom Group LLC d/b/a

Precision Point Firearms (“Precision Point Firearms”) and inquired about the availability of a

firearm and ammunition for purchase.

       58.     On April 7, 2020 Precision Point Firearms advised Plaintiff McCarthy that it could

not sell a firearm or ammunition to him due to COVID-19 Order No. 21.

       59.     Plaintiff Timothy Galligan holds a valid LTC in the Commonwealth but does not

own any firearms, rifles, shotguns or ammunition. He is the single parent of a teenage son and is

concerned about the protection of himself and his family should the need arise, especially if

emergency services are unavailable or not reliably available. He decided to purchase a gun and

ammunition to protect himself and his family.




                                                -11-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 12 of 17



       60.      On April 7, 2020, Plaintiff Galligan contacted Plaintiff Troy City Tactical and

inquired about the availability of a firearm and ammunition for purchase.

       61.      On April 7, 2020 Plaintiff Troy City Tactical advised Plaintiff Galligan that the Fall

River Police Department had ordered them to stop all sales in order to comply with COVID-19

Order No. 21.

       62.      Plaintiff Jim Simmons holds a valid LTC in the Commonwealth but does not own

any firearms, rifles, or shotguns. He is a self-employed single parent of three children who wants

the option to protect his family with a firearm should the need arise, especially if emergency

services are unavailable or not reliably available.

       63.      On March 30, 2020 Plaintiff Simmons visited the premises of Plaintiff Shooting

Supply and purchased a Smith & Wesson .380 caliber handgun. Due to a delay in the background

check system, he was advised that he could return on April 2, 2020 to pick up his new firearm. He

intended and planned to return on that day to pick up both the firearm and ammunition for it.

       64.      On April 2, 2020 Plaintiff Simmons drove to Plaintiff Shooting Supply and parked

in the parking lot in front of the store. As he exited his vehicle he was immediately confronted by

a Westport police officer in uniform. The officer ordered Plaintiff Simmons to leave the area and

threatened to arrest him if he did not. Plaintiff Simmons later learned that the Westport Police

Department had shut down Plaintiff Shooting Supply, and that he was now not able to take

possession of the handgun that he had lawfully purchased, nor to obtain ammunition for it.

       65.      Plaintiff David Lantagne holds a valid LTC in the Commonwealth but does not own

any firearms, rifles, shotguns or ammunition. He owns a construction company and is married with

two children. He wants the option to protect his family with a firearm should the need arise,

especially if emergency services are unavailable or not reliably available.




                                                -12-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 13 of 17



       66.     On April 3, 2020 Plaintiff Lantagne purchased a Sig Sauer 320X5 Legion 9mm

caliber handgun from the Sig Sauer Academy in Epping, New Hampshire. Plaintiff Lantagne was

advised that, as a Massachusetts resident, in accordance with federal law, he must have the firearm

shipped to a licensed firearms dealer in Massachusetts before he could receive it. Plaintiff

Lantagne directed the Sig Sauer Academy to ship his new firearm to Precision Point Firearms.

       67.     On April 7, 2020 Precision Point Firearms received Plaintiff Lantagne’s Sig Sauer

320XS Legion 9 mm caliber firearm. Precision Point Firearms contacted Plaintiff Lantagne and

told him that it could not conduct business and thus could not transfer the firearm to him due

to COVID-19 Order No. 21. Plaintiff Lantagne is accordingly unable to obtain a firearm or

ammunition.

       68.     Plaintiff Thomas Leighton has a valid LTC and recently purchased his first firearm,

a Sig Sauer 9mm handgun. He also recently became a member of Plaintiff Worcester Pistol &

Rifle Club. Because the Club has been advised by the Boylston Board of Health that it cannot open

due to the COVID-19 Orders, Plaintiff Thomas Leighton has been unable to go to the Club and

practice and become proficient with his firearm. If the Club were allowed to open, he would use

its ranges to practice and develop proficiency.

       69.     Plaintiff Firearms Policy Coalition, Inc. (“FPC”) is a non-profit organization with

purposes that include defending and promoting the People’s rights and freedom. FPC serves its

members and the public through legislative advocacy, grassroots advocacy, litigation and legal

efforts, research, education, outreach, and other programs. FPC represents its members and

supporters, who include individuals aggrieved by COVID-19 Orders and the other actions

complained of herein, and brings this action on behalf of itself, its members, supporters who

possess all the indicia of membership, and similarly situated members of the public. FPC has



                                                  -13-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 14 of 17



expended and diverted resources, and been adversely and directly harmed, because of Defendants’

laws, policies, practices, and customs challenged herein. FPC brings these claims on its own

behalf, on behalf of its members and on behalf of legally eligible affected persons.

       70.     Plaintiff Commonwealth Second Amendment, Inc. (“Comm2A”) is a nonprofit

organization recognized under § 501(c)(3) of the Internal Revenue Code. The purposes of

Comm2A include education, research, publishing, and legal action focusing on the constitutional

right of the people to possess and carry firearms. Comm2A has members and supporters

throughout (and beyond) Massachusetts, including members and supporters who would purchase

firearms and ammunition for the purpose of self-defense but for the COVID-19 Orders and

Defendants’ ongoing threat to enforce them. In addition, Comm2A expends significant resources

assisting people who are unable to purchase firearms and ammunition for this same reason.

Comm2A brings this action on its own behalf and on behalf of its members.

       71.     Plaintiff Second Amendment Foundation, Inc. (“SAF”) has over 650,000 members

and supporters nationwide, including in the Commonwealth of Massachusetts. The purposes of

SAF include promoting both the exercise of the right to keep and bear arms and education,

research, publishing, and legal action focusing on the constitutional right to privately own and

possess firearms. SAF also promotes research and education on the consequences of abridging the

right to keep and bear arms and on the historical grounding and importance of the right to keep

and bear arms as one of the core civil rights of United States citizens. SAF brings these claims on

its own behalf and on behalf of its members.

              CAUSE OF ACTION FOR DEPRIVATION OF CIVIL RIGHTS
                               42 U.S.C. § 1983

       72.     Defendants’ acts prohibiting the operation of any and all consumer-oriented

firearms businesses operates to completely prohibit law-abiding individuals from purchasing



                                               -14-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 15 of 17



ammunition, and to effectively prevent most of them from purchasing firearms. Independently and

collectively, these acts stand as a perpetual bar on acquiring firearms and ammunition for the

purpose of protecting one’s self and family (or indeed, for any other lawful purpose).

       73.      Furthermore, Defendants’ acts prohibiting the operation of shooting ranges operate

to prohibit law-abiding individuals from engaging in live-fire practice and obtaining proficiency

in the safe use of guns.

       74.      States and localities do not have the power to prohibit the keeping and bearing of

arms, nor to close off the channels of distribution by which people obtain firearms and ammunition,

nor to close off the ranges at which people can practice and obtain proficiency in the use of

firearms.

       75.      Defendant Governor Baker’s COVID-19 Orders require all dealers in firearms and

ammunition to close to the public, and accordingly stand as a ban on purchasing firearms and

ammunition. Furthermore, Defendant Baker’s COVID-19 Orders prohibit the operation or use of

shooting ranges. Defendant Commissioner Bharel stands ready, willing and able to enforce the

COVID-19 Orders against the Plaintiffs, and Defendant Commissioner Gagnon has undertaken to

enforce the COVID-19 Orders against the Plaintiffs.

       76.      The Plaintiffs, and the Plaintiffs’ members and customers, reasonably fear that the

Defendants will enforce the COVID-19 Orders and their related policies, customs, and practices

against them.

       77.      The COVID-19 Orders, and Defendants’ policies, practices, customs and

enforcement actions related to them, have and continue to directly or effectively prohibit the

Plaintiffs, the members and customers of the Plaintiffs and other similarly situated members of the




                                               -15-
       Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 16 of 17



public from purchasing or selling firearms, and form practicing and obtaining proficiency with

firearms, thus causing injury and damage that is actionable under 42 U.S.C. § 1983.

                                           PRAYER

       WHEREFORE, Plaintiffs pray for the following relief:

              i.      A declaratory judgment that COVID-19 Executive Order No. 13 and
                      COVID-19 Executive Order No. 21, and Defendants’ policies, practices,
                      customs and related enforcement actions, individually and/or collectively
                      prohibit the purchase, sale, and transfer of firearms, as well as engaging in
                      firearms practice, and thus violate the Second and Fourteenth
                      Amendments;

             ii.      a preliminary and/or permanent injunction restraining Defendants and
                      their officers, agents, servants, employees, and all persons in concert or
                      participation with them who receive notice of the injunction, from
                      enforcing COVID-19 Executive Order No. 13 and COVID-19 Executive
                      Order No. 21, and Defendants’ policies, practices, and customs, that
                      individually and/or collectively prohibit the purchase, sale and transfer of
                      firearms and the operation of shooting ranges;

            iii.      nominal damages;

            iv.       such other and further relief, including injunctive relief, against all
                      Defendants, as may be necessary to effectuate the Court’s judgment, or as
                      the Court otherwise deems just and equitable; and

             v.       attorney’s fees and costs (including incidental costs such as expert witness
                      fees) pursuant to 42 U.S.C. § 1988 and any other applicable law.




                                               -16-
        Case 1:20-cv-10701-DPW Document 99 Filed 05/15/20 Page 17 of 17



       Dated: May 15, 2020

                                          Respectfully submitted,

                                          THE PLAINTIFFS,

                                          By their attorneys,


                                           /s/ David D. Jensen
                                          David D. Jensen, Esq.
                                          Admitted Pro Hac Vice
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                                                -17-
